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   14   Entropic Communications, LLC
   15                       UNITED STATES DISTRICT COURT
   16                     CENTRAL DISTRICT OF CALIFORNIA
   17   ENTROPIC COMMUNICATIONS,
        LLC,
   18                                                Case No.: 2:23-cv-01043-JWH-KES
                       Plaintiff,
   19                                                PLAINTIFF ENTROPIC
              v.                                     COMMUNICATIONS’
   20                                                OPPOSITION TO
        DISH NETWORK                                 DEFENDANTS’ RULE 12(b)(6)
   21                                                MOTION TO DISMISS UNDER
        CORPORATION, et al.,                         35 U.S.C. § 101
   22
                       Defendants.                   Hearing Date: June 9, 2023
   23                                                Hearing Time: 9:00 a.m.
                                                     Courtroom: 9D
   24                                                Judge:        Hon. J. W. Holcomb
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    1   I.    INTRODUCTION
    2         The defendants (collectively “DISH”) have moved for dismissal of the claims
    3   of infringement of two patents—U.S. Patent Nos. 10,257,566 (“the ’566 Patent”) and
    4   8,228,910 (“the ’910 Patent”)—based upon purported patent ineligibility under 35
    5   U.S.C. § 101. Far from representing ineligible subject matter, these patents represent
    6   concrete technological solutions to a very significant problem, as laid out in the
    7   introductory paragraphs of the Complaint. ECF Dkt. No. 1 ¶ 1-4.
    8         Around the turn of the millennium, cable and satellite providers were eager to
    9   deploy new and improved services, but these services required a high-speed data
   10   network inside buildings to deliver those services to various rooms. Id. ¶ 1. Given
   11   the existing technology, this meant installing new cabling inside each premises to
   12   carry the network, a costly and time-consuming effort. Id. A group of inventors set
   13   out to repurpose the already-existing coaxial cables common in buildings to carry a
   14   new network protocol, which would need to be invented from scratch to work with
   15   the legacy wiring that was never intended to be used for a local area network. Id. ¶ 2.
   16   The Patents-in-suit, including the two that are the subject of the present motion,
   17   represent the technical solutions enabling this new networking technology, now
   18   commonly called MoCA. Id. ¶ 3. These two Patents represent particular solutions to
   19   particular problems that arise in the context of MoCA networks. They claim
   20   precisely the type of technical solutions the Patent Act is designed to promote and
   21   protect.
   22         Legally, DISH’s motion must be denied given the nature of the Patents, and
   23   because issues of claim construction, and of fact, block any dismissal under Fed. R.
   24   Civ. P. 12(b)(6).
   25   II.   ARGUMENT
   26         A.     The Law of Patent Eligibility
   27         While DISH accurately describes the Alice steps one and two analyses for
   28   Section 101 patent eligibility, it omits certain key legal precepts regarding patent
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    1   eligibility. See ECF Dkt. No. 50-1 at 11-13. First, DISH has the burden of proof in
    2   challenging claims as patent ineligible. Illumina, Inc. v. Ariosa Diagnostics, Inc., 967
    3   F.3d 1319, 1328 (Fed. Cir. 2020). In other words, it is not up to Entropic to prove
    4   that a claim is patentable.
    5         Secondly, the Federal Circuit has cautioned against oversimplifying a patent’s
    6   claims when conducting a Section 101 analysis. See McRO, Inc. v. Bandai Namco
    7   Games Am. Inc., 837 F.3d 1299, 1313 (Fed. Cir. 2016) (“We have previously
    8   cautioned that courts must be careful to avoid oversimplifying the claims by looking
    9   at them generally and failing to account for the specific requirements of the claims”
   10   (internal quotation marks omitted)). In that regard, a court may consult a patent’s
   11   specification to determine whether the claims challenged under Section 101 include
   12   an inventive concept that suffices to defeat such a challenge. See Weisner v. Google
   13   LLC, 51 F.4th 1073, 1087 (Fed. Cir. 2022).
   14         Thirdly, it is “ordinarily [ ] desirable—and often necessary—to resolve claim
   15   construction disputes prior to a § 101 analysis, for the determination of patent
   16   eligibility requires a full understanding of the basic character of the claimed subject
   17   matter.” Bancorp Services, L.L.C. v. Sun Life Assur. Co. of Canada (U.S.), 687 F.3d
   18   1266, 1273-74 (Fed. Cir. 2012).
   19         Finally, although patent eligibility is a matter of law, it “may contain disputes
   20   over underlying facts.” Berkheimer v. HP Inc., 881 F.3d 1360, 1368 (Fed. Cir. 2018).
   21   “Whether the claim elements or the claimed combination are well-understood,
   22   routine, [or] conventional is a question of fact.” Aatrix Software, Inc. v. Green Shades
   23   Software, Inc., 882 F.3d 1121, 1128 (Fed. Cir. 2018). As highlighted herein, each of
   24   these legal precepts weighs against granting the instant motion.
   25         B.     The MoCA Inventions
   26         Televisions signals received via an external television cable enter a building at
   27   a point-of-entry, and are sent to television receivers via a broadband cable network
   28   that may include a plurality of cables and cable splitters. ’566 Patent, col. 1, lines 36-
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    1   46. Traditionally, coaxial cable within a building was deployed as a “tree” topology,
    2   which simply splits the signal coming from the external cable feed for distribution of
    3   video content to the various locations on the premises in the “downlink” direction
    4   only. ECF Dkt. No. 1, ¶ 25.
    5         By the year 2000, millions of dwellings and businesses across the United States
    6   already had existing coaxial cable deployed throughout the premises. Id. However,
    7   cable providers began facing the problem of distributing multimedia data between
    8   the various nodes interconnected by coaxial cable. Id., ¶ 24. Such distribution
    9   required a full digital network, capable of communication between any node in the
   10   network, in any direction—a functionality that coaxial cable networks lacked. Id., ¶
   11   25.
   12         However, as the ’566 Patent evidences, Entropic Inc. realized that “[t]he home
   13   coaxial cable is a natural medium for connecting multimedia devices since it has
   14   enormous amount of available bandwidth required for the high data rates which are
   15   needed for such applications and also, all the multimedia devices and appliances are
   16   most likely to be already connected to the coaxial cable.” ’566 Patent, col. 3, lines
   17   24-30. At the same time, however, Entropic Inc. recognized that “most broadband
   18   cable networks . . . presently utilized within most existing buildings are not
   19   configured to allow for networking between CPEs[1].” Id., col. 3, lines 30-33.
   20         Thus, Entropic Inc., in tackling the problem, managed what was considered
   21   unlikely or impossible—to make a high-speed point-to-point digital communication
   22   network using existing coax installations. ECF Dkt. No. 1, ¶ 26. Its work in this
   23   regard led to the founding of MoCA. Id., ¶ 27. The technology defined in the MoCA
   24   standards enables a robust point-to-point high-quality network, which is significantly
   25   different from the legacy coaxial network. Id., ¶¶ 27, 29. Entropic Inc.’s work in
   26   developing the MoCA standard also resulted in numerous patents, including the
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          “CPE” is an acronym for “customer premise equipment.” See ’566 Patent, col. 3,
        lines 48-50.
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    1   patents in suit in this matter. Id., ¶¶ 26, 37. The two patents that are the subject of
    2   the instant motion are part of Entropic Inc.’s tapestry of patents resulting from its
    3   work developing the MoCA standard. Id., ¶¶ 31, 39.
    4                      a.     The ’566 Patent
    5         The problem faced by the inventors of the ’566 Patent was the mixture of
    6   coaxial cables of varying types and poor quality within a network, along with RF
    7   interference, and having multiple splitters of varying quality and frequency ranges.
    8   ’566 Patent, col. 1, lines 53-61. A typical coaxial cable network is depicted as
    9   follows:
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   18   ’566 Patent, Figure 3.
   19         The ’566 Patent describes the network depicted in Figure 3 as “[a] BCN
   20   network 310 within the home 302” that “connects with the satellite dish 308 and
   21   cable/terrestrial network 304 at POE 306.” ’566 Patent, col. 5, lines 56-58. That
   22   network includes devices such as a home media server 320, a video monitor 322,
   23   wireless access point 324, WebPad 326, network audio appliance 328, and a
   24   laptop personal computer 330. Id., col. 6, lines 1-16. As noted above, several data
   25   packets, including probe packets, control and optimize the operation of the BCN
   26   network depicted in Figure 3. ’566 Patent, col. 8, lines 15-18, 37-57.
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  1         The ’566 Patent is directed to solving for the variable quality in coaxial cable
  2   networks in the context of new node admission to a coaxial cable network by
  3   optimizing and periodically adapting the channels between node pairs:
  4         A Network Controller (NC) BCN modem is established by the
  5         activation of the first BCN modem or when there are multiple devices
  6         through a selection process. The other BCN modems in the network
  7         then communicate with the NC to be admitted to the network and when
  8         attempting to access the network and request transmission opportunities
  9         to any other node in the network. Each BCN modem communicates
 10         with the other BCN modems in the network and establishes the best
 11         modulation and other transmission parameters that is optimized and
 12         periodically adapted to the channel between each pair of BCN modems.
 13   Id., col. 4, lines 23-39 (emphasis added).
 14         The specification explains the purpose of the claimed probe in channel
 15   adaptation—“[t]he probe may be used for calibrating the I/Q amplitude and phase
 16   Quadrature balance of the up and down conversion process,” which, in turn, “can
 17   accommodate a less stringent I/Q hardware requirements by using probe packets for
 18   adaptive calibrations.” ’566 Patent, col. 8, lines 46-52.
 19         Claim 1 of the ’566 Patent reads:
 20         A communication circuit comprising:
 21         a transceiver operable to communicate in a coaxial cable network
 22         (CCN);
 23         a controller that is operable to, at least:
 24         transmit first information on the CCN, the first information comprising
 25         information indicating when admission messages for requesting
 26         admission to the CCN may be transmitted on the CCN;
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  1         receive an admission request message from a new node for admission
  2         to the CCN;
  3

  4         if the received admission request message is correctly received and the
  5         new node is authorized to join the CCN, then perform an admission
  6         procedure with the new node;
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  8         probe a communication link of the CCN connecting the communication
  9         circuit to the new node; and
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 11         adapt transmission parameters for the communication link based, at least
 12         in part, on the probe.
 13   Id., col. 45-63.
 14         In light of the afore-quoted teachings from the ’566 Patent regarding the
 15   problem faced by the inventors, and the patented solution thereto, at least the term
 16   “adapt transmission parameters” will need to be defined to characterize that term
 17   accurately as to its contribution to that solution. Further, as noted above, the
 18   Complaint and the ’566 Patent make clear that converting coaxial cable into a
 19   point-to-point network required the novel use of adaptive transmission parameters to
 20   optimize coaxial cable network communications. The novel use of such features in
 21   the context of coaxial cable networks is patentable under section 101. ECF Dkt. No.
 22   1, ¶ 246.
 23                       b.    The ’910 Patent
 24         According to the specification of the ’910 Patent, the problem confronted in
 25   the prior art is that “overhead information is associated with each packet transmitted
 26   through the network,” and such information, “including identifiers, source and
 27   destination addresses, error control fields, etc., is added to the user data and reduces
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  1   the availability of network bandwidth for user data.” ’910 Patent, col. 1, lines 32-37
  2   (emphasis added).
  3         For a solution to this problem, the specification teaches the use of a packet data
  4   unit (“PDU”) with a “header,” a “payload,” and “frame check sequence (FCS)” or
  5   “cyclic redundancy check (CRC)” bits. Id., col. 3, lines 42-52. The PDUs are
  6   capable, on the one hand, of conversion to Multimedia over Coax Alliance (“MoCA”)
  7   packets for transmission over coaxial cable. Id., col. 3, lines 60-61. However,
  8   Ethernet frames can be packet aggregated when it is determined that such frames are
  9   to be transmitted to the same destination node, or a node having the same aggregation
 10   identification. Id., col. 4, lines 6-12. The claimed device that performs the packet
 11   aggregation is the packet aggregation module, which is located in network node
 12   memory, as depicted in Figure 2 of the ’910 Patent:
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 18   ’910 Patent, Fig. 2 & col. 4, lines 7-11 (“packet aggregation module 25 of node 21
 19   aggregates Ethernet frames 32 and 36 into a single aggregated frame 50 when it is
 20   determined that frames 32 and 36 are to be transmitted to the same destination node
 21   or nodes”).
 22         Figure 4 illustrates the structure of the resulting packet aggregating PDU 1 and
 23   2 (aggregate packet), which leads to a decrease in network overhead and solves for
 24   the reduced bandwidth associated with the transmission of single packets:
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 11   Id., col. 4, lines 12-13 & col. 6, lines 25-27.
 12          In the above Figure, “[a]ggregated frame 50 includes a MAC payload 56,
 13   which includes an aggregated payload 52 that is formed from the data from Ethernet
 14   frames 32 and 36, and padding 57.” Id., col. 4, lines 13-16. MAC payload 56 further
 15   includes an aggregation header 55.” Id., col. 4, lines 16-17. “The transmitted packet
 16   overhead of the network can then be reduced by eliminating interframe gaps,
 17   preamble information, and extra headers” in the aggregate packets. Id., col. 2, lines
 18   1-3.
 19          Claim 3 of the ’910 Patent (charted in the complaint) reads as follows:
 20          A system for transmitting digital data over a network comprising:
 21          a transceiver adapted to receive a plurality of packet data units; and
 22

 23          a packet aggregation module for identifying at least two of the plurality
 24          of packet data units that have a same destination node and for forming
 25          an aggregate packet from the at least two of the plurality of packet data
 26          units;
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  1         wherein the transceiver is adapted to transmit the aggregate packet to at
  2         least one destination node; and
  3

  4         wherein the packet aggregation module identifies the same destination
  5         node by identifying a same aggregation identifier.
  6   ’910 Patent, col. 6, lines 35-60 (emphasis added).
  7         As Entropic notes, “[t]he ’910 Patent is the Packet Aggregation Patent, and is
  8   generally directed to, inter alia, transmitting data over a network, where the
  9   transmitting device aggregates packets that are directed to a common destination
 10   node,” which “reduces the transmitted packet overhead of the network by eliminating
 11   interframe gaps, preamble information, and extra headers.” ECF Dkt. No. 1, ¶ 381.
 12   Thus, the claims of the ’910 Patent are “directed to patent-eligible subject matter
 13   pursuant to 35 U.S.C. § 101.” Id., ¶ 382.
 14         Here, the obvious claim construction issues, in light of the identified problem
 15   and claimed solution, include “packet aggregation module” and “aggregate packet.”
 16   And, given such a problem and solution, i.e., reducing network overhead by packet
 17   aggregation, as described above, there is at least a fact question as to whether such
 18   module and packet are novel as used in the context of the claimed invention.
 19         C.     The Patents Claim Patent-Eligible Subject Matter
 20         DISH has moved for dismissal under Fed. R. Civ. P. 12(b)(6), meaning that it
 21   is confined to the pleadings in this matter. Hal Roach Studios, Inc. v. Richard Feiner
 22   & Co., Inc., 896 F.2d 1542, 1555 n.19 (9th Cir. 1989) (“Generally, a district court
 23   may    not   consider   any   material      beyond   the   pleadings   in   ruling   on
 24   a Rule 12(b)(6) motion”).
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  1                       a.    DISH Has Failed To Prove The Claims Of The ’566
  2                             Patent Are Unpatentable

  3                             (1)    Alice Step One
  4         As discussed above, there is a need to construe at least the term “adapt
  5   transmission parameters,” which precludes a ruling on Section 101 patentability at
  6   this point. Bancorp Servs., 687 F.3d at 1273-74. DISH has offered no explanation to
  7   the contrary. Beyond that, however, in purporting to summarize the claims of the
  8   ’566 Patent, DISH simply ignores the claimed requirements that the node admission
  9   be to a coaxial cable network, and that there be a communication link probe that
 10   results in adapting transmission parameters - a feature that allows for the optimization
 11   of link communications in such a network. See ECF Dkt. No. 50-1 at 13-14. As such,
 12   DISH runs afoul of the admonition against oversimplifying a claim to bolster a
 13   Section 101 challenge. McRO, 837 F.3d at 1313.
 14         Based on this unduly simplified claim summary, DISH attempts to analogize
 15   what are, in fact inapposite decisions from the Federal Circuit. For example, in Prism
 16   Technologies LLC v. T-Mobile USA, Inc., the court evaluated the patentability of
 17   claims directed to: “(1) receiving identity data from a device with a request for access
 18   to resources; (2) confirming the authenticity of the identity data associated with that
 19   device; (3) determining whether the device identified is authorized to access the
 20   resources requested; and (4) if authorized, permitting access to the requested
 21   resources.” Prism Technologies LLC v. T-Mobile USA, Inc., 696 F. App’x 1014, 1017
 22   (Fed. Cir. 2017). In fact, there is nothing in the Prism claims corresponding to
 23   adaptive transmission parameters resulting from communication link probing, which,
 24   as described above, optimizes network communications in a coaxial cable network.
 25         When the ’566 Patent claims are accurately summarized, they are actually
 26   analogous to the claims at issue in Cosmokey Solutions GmbH & Co. KG v. Duo
 27   Security LLC, which distinguished Prism.         There, the claims were directed to
 28   “activation of the authentication function, communication of the activation within a
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  1   predetermined time, and automatic deactivation of the authentication function, such
  2   that the invention provides enhanced security and low complexity with minimal user
  3   input.” Cosmokey Sols. GmbH & Co. KG v. Duo Security LLC, 15 F.4th 1091, 1097
  4   (Fed. Cir. 2021).
  5         The court in Cosmokey found the claims patentable under section 101, as they
  6   recited “a specific improvement to authentication that increases security, prevents
  7   unauthorized access by a third party, is easily implemented, and can advantageously
  8   be carried out with mobile devices of low complexity,” i.e., they did not merely recite
  9   “generic computer functionality to perform the abstract concept of authentication.”
 10   Id. at 1098. Similarly, the claims at issue describe an improved method of node
 11   admission to a coaxial cable network using adaptive transmission parameters based
 12   upon the results of a communication link probe to optimize communications on such
 13   network. See ’566 Patent, col. 25, lines 46-63.
 14         DISH also describes the holding in Strikeforce Technologies, Inc. v.
 15   SecureAuth Corp., No. LA CV17-04314, 2017 WL 8808122 (C.D. Cal. Dec. 1,
 16   2017), as invalidating “claims reciting authentication of a request for sensitive
 17   information via a separate ‘authentication channel’” because they were “directed to
 18   the abstract idea of permitting restricted access to resources.” ECF Dkt. No. 50-1 at
 19   14. In fact, the decision in StrikeForce was more nuanced. In StrikeForce, the court
 20   noted that, while an “ordered combination of conventional elements may be
 21   inventive,” the “ordered combination of the Asserted Claims is logical and
 22   conventional.” Strikeforce, 2017 WL 8808122 at *7 (separation of the access and
 23   authentication channels, interception of the login identification, and initial
 24   verification of the user’s login identification).
 25         DISH has presented no evidence that the method claims of the ’566 Patent are
 26   logical and conventional, despite having the burden on this issue, which is fatal to
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  1   the instant motion.2 See Illumina, 967 F.3d at 1328 (Fed. Cir. 2020) (“Roche, the
  2   party challenging the validity of the patents and thus bearing the burden of proof on
  3   its § 101 challenge, has presented no evidence that thresholds of 500 base pairs and
  4   300 base pairs were conventional for separating different types of cell-free DNA
  5   fragments”).
  6         Similarly, in Smart Authentication IP, LLC v. Electronic Arts Inc., the court
  7   addressed a method claim for “authenticating a user in more than one way over
  8   multiple electronic mediums,” which did “not provide any ‘unconventional,
  9   patentable combination.’” ECF Dkt. No. 50-1 at 14, quoting Smart Authentication
 10   IP, LLC v. Electronic Arts Inc., 402 F. Supp. 3d 842, 852-53 (N.D. Cal. 2019). The
 11   court in Smart Authentication distinguished the claims at issue in Cellspin Soft Inc.
 12   v. Fitbit, Inc., where the claims were directed to an invention that “contemplated a
 13   less bulky and less expensive apparatus in terms of hardware – making it cheaper to
 14   build – and was also less expensive for the user,” and found to be patent eligible.
 15   Smart Authentication, 402 F. Supp. 3d at 854, citing Cellspin Soft Inc. v. Fitbit, Inc.,
 16   927 F.3d 1306 (Fed. Cir. 2019). As noted above, the invention of the ’566 Patent
 17   adapts transmission parameters resulting from communication link probing, which
 18   optimizes communications over a coaxial cable network, and, as such, are analogous
 19   to the patentable improvements in Cellspin.
 20         On that note, Affinity Labs of Texas, LLC v. DIRECTV, LLC, cited by DISH,
 21   did indeed reiterate the general proposition that “merely limiting the field of use of
 22   the abstract idea to a particular existing technological environment does not render
 23   the claims any less abstract.” Affinity Labs of Texas, LLC v. DIRECTV, LLC, 838
 24   F.3d 1253, 1259 (Fed. Cir. 2016). However, rather than simply availing itself of an
 25   existing technological environment, in this case, a uni-directional coaxial cable, the
 26   claimed invention contributes to the conversion of such an environment into a point-
 27   2
       DISH argues that certain components claimed in the ‘566 Patent, namely, the
 28   “communication circuit,” “transceiver,” “controller,” and “node” are conventional.
      See ECF Dkt. No. 50-1 at 7. See also id. at 17.
                                               12
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  1   to-point network by optimizing communications over such network through adaptive
  2   transmission parameters. See ’566 Patent, col. 3, lines 46-49.
  3         Finally, DISH argues that, because “the claims fail to specify how the link is
  4   ‘probed,’ what ‘transmission parameters’ are ‘adapted,’ or how that adaptation is
  5   done,” such claims are too general to be patentable. ECF Dkt. No. 50-1 at 15. DISH
  6   presents no evidence that additional detail regarding communication link probe
  7   parameters is required to advance the claims beyond an unpatentable abstraction.
  8         On a related note, the claims at issue in IOENGINE, LLC v. PayPal Holdings,
  9   Inc. required program code “configured to provide a communications node on the
 10   portable device to coordinate with the communications node on the terminal and
 11   establish a communications link between the portable device and the terminal, and
 12   facilitate communications to the terminal and to a communications network node
 13   through the terminal communication interface.” IOENGINE, LLC v. PayPal
 14   Holdings, Inc., 607 F. Supp.3d 464, 477 (D. Del. 2022). The claims did not specify
 15   how the coordination and facilitation are to occur. See id. Those claims were
 16   nonetheless found patentable because they were directed to “a novel computer
 17   architecture that is designed to provide benefits because of the claimed structures of
 18   the computing elements.” Id. at 486. Similarly, as explained above, the claimed
 19   adaptive transmission parameters contribute to a novel point-to-point architecture for
 20   a coaxial cable network.
 21                              (2)   Alice Step Two
 22         Assuming the Court reaches Alice step two, as noted above, there is at least an
 23   issue of fact as to whether transmission parameter probes and transmission
 24   parameters used to optimize coaxial cable network communications via link
 25   optimization are novel (unconventional). Aatrix Software, 882 F.3d at 1128. Such a
 26   fact issue precludes adjudicating Section 101 patentability at this point. Berkheimer,
 27   881 F.3d at 1368.
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  1         Further, the case law cited by DISH is unhelpful. To begin with, in SmartFlash
  2   LLC v. Apple Inc., “the Federal Circuit found claims for restricting access to data
  3   pending payment validation or other ‘access/use rules’ to be directed to the abstract
  4   idea of ‘conditioning and controlling access to data based on payment.’” ECF Dkt.
  5   No. 50-1 at 14, citing SmartFlash LLC v. Apple Inc., 680 F. App’x 977, 982-83 (Fed.
  6   Cir. 2017). Again, SmartFlash is applicable only if one accepts DISH’s unduly
  7   simplified characterization of the claims at issue in this case, as there is nothing in
  8   the SmartFlash claims corresponding to communication link probing. However, in
  9   light of the actual invention thereof, those claims are akin to those at issue in
 10   IOENGINE, supra, which distinguished SmartFlash. Those claims were directed to
 11   “a novel computer architecture that is designed to provide benefits because of the
 12   claimed structures of the computing elements.” IOENGINE, 607 F. Supp.3d at 486.
 13         The court in IOENGINE also noted that the subject claims, while “broad in
 14   scope,” contained sufficient limitations to ensure that such claims were not directed
 15   to “an end result rather than to the process or machinery employed to achieve that
 16   result.” Id. at 487. As in IOENGINE, the claims here do not merely describe the
 17   result of network admission, but describe a probe of communication links used to set
 18   transmission parameters for such admission.
 19         DISH cites Internet Patents Corp. v. Active Network, Inc. for the proposition
 20   that “transmitting and receiving messages between nodes in a network is simply
 21   ‘citing the ineligible concept in a particular technological environment.’” ECF Dkt.
 22   No. 50-1 at 18, citing Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343,
 23   1349 (Fed. Cir. 2015). However, the claims at issue here are analogous to those in
 24   Enfish, LLC v. Microsoft Corp., which distinguished Internet Patents. The claims in
 25   Enfish were “directed to a specific improvement to computer functionality” in the
 26   fashion that the instant claims are directed to a specific improvement to network node
 27   admission, i.e., communication probing to set transmission parameters on a coaxial
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  1   cable network. See Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1338 (Fed. Cir.
  2   2016).
  3         DISH also looks to the decision in NetSoc, LLC v. Match Group, LLC as
  4   addressing the “probing” and “adapting” limitations of the ’566 Patent. ECF Dkt. No.
  5   50-1 at 18. As explained above these, and other, limitations of the challenged claims
  6   in this case are directed to a technological advancement in network node admission.
  7   In contrast, in NetSoc:
  8         ‘[M]aintaining’ a list of participants, ‘presenting’ a user with selectable
  9         categories, ‘displaying’ participant information based on the selected
 10         category, ‘shielding’ contact information, ‘enabling’ the user to send a
 11         message to participants, ‘tracking’ a response time of participants, and
 12         ‘updating’ participant ratings are all human activities that the claims
 13         more efficiently organize by applying them to a ‘network computer
 14         system.’
 15   NetSoc, LLC v. Match Group, LLC, 838 Fed. Appx. 544, 548 (Fed. Cir. 2020)
 16   (emphasis added).
 17         NetSoc goes on to note that the specification of the patent at issue therein
 18   “discloses that, without the invention, a ‘human resource department’ can handle the
 19   ‘entire arduous process of relocation.’” Id. at 549. There is no corresponding
 20   teaching in the ’566 Patent that network node admission was ever, or ever could be,
 21   a human activity. In fact, when one looks at the invention depicted in Figure 3 of the
 22   ’566 Patent, and as described therein (see ’566 Patent, col. 8, lines 15-18 & 37-57;
 23   and Figure 3), not even DISH can allege that the invention of the ’566 Patent
 24   comprises the simple computerization of human activity. See ECF Dkt. No. 50-1 at
 25   13-19. Thus, NetSoc is inapposite.
 26         Next, DISH cites Apple, Inc. v. Ameranth, Inc., the claims of which lacked a
 27   “particular way of programming or designing the software . . . but instead merely
 28   claim[s] the resulting systems.” ECF Dkt. No. 50-1 at 16, quoting Apple, Inc. v.
                                                  15
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  1   Ameranth, Inc., 842 F.3d 1229, 1241 (Fed. Cir. 2016). This Court distinguished
  2   Apple where the subject claims were directed to “improving a user’s viewing
  3   experience.” Maxell, Ltd. v. Fandango Media, LLC, No. 17-cv-07534, 2018 WL
  4   5085141 at *6 (C.D. Cal. March 21, 2018). As in Maxell, the claims of the ’566
  5   Patent are directed to enhancing the experience of a coaxial cable network user by
  6   allowing for the direct communication between diverse devices that are connected to
  7   such network. ’566 Patent, col. 6, lines 1-16.
  8         In short, the case law cited by DISH is consistently inapposite, as the claims at
  9   issue therein are not analogous to the claims of the ’566 Patent. The claims of the
 10   ’566 Patent address the manner of new node admission to a coaxial cable network
 11   that allows nodes in that network, including the newly admitted ones, to
 12   communicate directly with one another in an optimized fashion through the use of
 13   adaptive transmission parameters. This is more than enough to satisfy both Alice
 14   steps. At the very least, DISH has failed to provide evidence to the contrary, and the
 15   motion as to the ’566 Patent must fail.
 16                      b.     DISH Has Failed To Prove The Claims Of The ’910
 17                             Patent Are Unpatentable
 18                             (1)    Alice Step One
 19         As with the ’566 Patent, there are claim construction issues regarding the
 20   claims of the ’910 Patent (“packet aggregation module” and “aggregate packet”) that
 21   make ruling on Section 101 patentability inappropriate at this point. Bancorp Servs.,
 22   687 F.3d at 1273-74. Further, even more so than with the ’566 Patent, DISH
 23   oversimplifies the claims of the ’910 Patent in concocting the supposed abstract idea
 24   of “receiving, aggregating, and transmitting data.” See ECF Dkt. No. 50-1 at 19.
 25   And, as with the ’566 Patent, DISH cites a number of cases that only bear relevance
 26   to the instant case presupposing that DISH’s oversimplification of the claims is
 27   correct, which it is not. DISH entirely ignores the packet aggregation module and
 28   aggregate packet limitations in its summary. This is especially problematic, as the
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  1   Federal Circuit has ruled that data structure yielding “important technological
  2   consequences” is not an abstract idea. ADASA Inc. v. Avery Dennison Corp., 55 F.4th
  3   900, 908-09 (Fed. Cir. 2022).
  4         Specifically, the claim at issue in ADASA focused on data structure of an RFID
  5   serial number space, including a serial number selected from an allocated block with:
  6   1) a limited number of most significant bits (“MSBs”) at the leading end of the serial
  7   number; and 2) remaining bits of lesser significance. Id. at 908. As such, the claimed
  8   MSBs function as an additional data field within the serial number space that
  9   uniquely identifies the allocated block from which it came. Id. The Federal Circuit
 10   held that the claim at issue was “directed to a specific, hardware-based RFID serial
 11   number data structure designed to enable technological improvements to the
 12   commissioning process.” Id. at 909 (emphasis added).
 13         Similar to the claims in ADASA, as noted above, the claimed packet
 14   aggregation module, and aggregate packets with their resulting data structure, reduce
 15   the overhead on a coaxial cable network, thereby improving such network’s
 16   performance. See § II(C)(2), supra. Under the court’s reasoning in ADASA, the
 17   claims of the ’910 Patent represent technological improvements, rather than mere
 18   abstract ideas.
 19         DISH, for its part, first cites Two-Way Media Ltd. v. Comcast Cable
 20   Communications, LLC in which the subject claim recited a method for routing
 21   information using result-based functional language such as “converting,” “routing,”
 22   “controlling,” “monitoring,” and “accumulating records,” which the court found
 23   “does not sufficiently describe how to achieve these results in a non-abstract
 24   way.” Two-Way Media Ltd. v. Comcast Cable Communications, LLC, 874 F.3d 1329,
 25   1337 (Fed. Cir. 2017). Unlike the claim in that case, the claims of the ’910 Patent
 26   specify the manner in which network overhead is reduced through the use of packet
 27   aggregation by a packet aggregation module, i.e., the “how” that the court found
 28   missing in Two-Way Media.
                                               17
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  1         In Metone Solutions LLC v. Digi Int’l Inc., the Federal Circuit distinguished
  2   Two-Way Media as the claims in Metone were directed to “shifted USF, which breaks
  3   the fixed relationship between USFs in a downlink slot and the availability for
  4   transmission in the corresponding uplink slot.” Metone Sols. LLC v. Digi Int’l Inc.,
  5   App. Nos. 2021-1202 & -1203, 2021 WL 5291802 at *5 (Fed. Cir. Nov. 15, 2021).
  6   As with the claims in the ’910 Patent, the claims in Metone included the “how” that
  7   was found missing in Two-Way Media.
  8         In RecogniCorp, LLC v. Nintendo Co., Ltd., the Federal Circuit found that the
  9   claims at issue were “directed to the abstract idea of encoding and decoding image
 10   data,” as “a user displays images on a first display, assigns image codes to the images
 11   through an interface using a mathematical formula, and then reproduces the image
 12   based on the codes,” which “comprised standard encoding and decoding.”
 13   RecogniCorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322, 1326 (Fed. Cir. 2017)
 14   (emphasis added). DISH presents no evidence that the claimed packet aggregation
 15   module and packet aggregation in the ’910 Patent are standard. Rather, DISH
 16   characterizes the patent as teaching that such aggregation “‘can be performed by
 17   hardware, or any combination of hardware and software,’ including a generic
 18   processor and memory.” ECF Dkt. No. 50-1 at 21 (emphasis added). To begin with,
 19   the word “generic” appears nowhere in the ’910 Patent. That patent also says “[t]he
 20   functionality of these modules [including the packet aggregation module], although
 21   shown as software in FIG. 2, can be implemented by any combination of hardware
 22   or software in other embodiments,” i.e., the packet aggregation module can be either
 23   hardware, or software, or a combination of both. See ’910 Patent, col. 3, lines 32-35.
 24   There is, however, no teaching in the patent that the aggregation module is somehow
 25   generic or conventional.
 26         This Court had occasion to consider and distinguish the RecogniCorp decision
 27   in California Institute of Technology v. Broadcom Ltd. There, the claims were
 28   “‘directed to’ a method for encoding data that . . . improves on previous data encoding
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  1   methods by allowing for more efficient data transmission.” California Institute of
  2   Technology v. Broadcom Ltd., No. 16-cv-3714, 2019 WL 11828211 at *15 (C.D. Cal.
  3   Jan. 18, 2019). This was contrary to “[t]he claims of Recognicorp [that] did not relate
  4   to a specific method of encoding.” Id. at *18. Here, data packet aggregation
  5   performed by the packet aggregation module is set forth in the claims of the ’910
  6   Patent, as explained above.
  7         Next, DISH cites to Intell. Ventures I LLC v. Symantec Corp. for the
  8   proposition that the claims of the ’910 Patent are analogous to “mail delivery through
  9   a post office.” ECF Dkt. No. 50-1 at 21, citing Intell. Ventures I LLC v. Symantec
 10   Corp., 838 F.3d 1307, 1317 (Fed. Cir. 2016). Specifically, in that case, the Federal
 11   Circuit cited with approval the “district court’s analogy to a corporate mailroom,”
 12   which “take[s] certain actions based on the application of business rules,” including
 13   “gating the message for further review . . . and also releasing, deleting, returning, or
 14   forwarding the message.” Intell. Ventures, 838 F.3d at 1317. The claims in that case,
 15   however, did not specify any particular business rule, which is contrasted with the
 16   claims of the ’910 Patent, which provides specifically for aggregating packets by the
 17   packet aggregation module when multiple PDUs are destined for the same location.
 18         The ’910 Patent claims are actually analogous to those at issue in TecSec, Inc.
 19   v. Adobe, Inc., which distinguished Intell. Ventures. TecSec, Inc. v. Adobe, Inc., 978
 20   F.3d 1278, 1294 (Fed. Cir. 2020). According to the court in TecSec, the claims in
 21   Intell. Ventures were not directed to “‘a new method of virus screening or
 22   improvements thereto’ and merely claimed use of conventional virus-screening
 23   software to carry out the abstract virus-screening idea.” Id. In contrast, the claims in
 24   TecSec included “‘object-oriented key manager’ and specified uses of a ‘label’ as
 25   well as encryption for the access management,” i.e., not generic security. Id. at 1295.
 26   This is analogous to the detail regarding the use of the packet aggregation module to
 27   aggregate packets of PDUs in the claims of the ’910 Patent.
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  1                             (2)    Alice Step Two
  2          As explained above, there is an issue of fact as to whether the “packet
  3   aggregation module” and “aggregate packet” limitations of the ’910 Patent are
  4   unconventional, warranting denial of the instant motion. Berkheimer, 881 F.3d at
  5   1368. DISH limits its discussion to claim 3 of the ’910 Patent, which it characterizes
  6   as “representative” of the other two claims in that patent. ECF Dkt. No. 50-1 at 22.
  7   DISH again invokes the decisions in Two-Way Media and Intell. Ventures as
  8   evidence that the limitations of claim 3 are “conventional.” See ECF Dkt. No. 50-1
  9   at 23. As noted above with regard to Alice step one, however, the claims at issue in
 10   those decisions are inapposite to the claims of the ’910 Patent. Otherwise, DISH
 11   offers no evidence that the packet aggregation module and aggregated packets are
 12   conventional.
 13          This is especially problematic as the specification of the ’910 Patent makes
 14   clear that such aggregation reduces network overhead “by eliminating interframe
 15   gaps, preamble information, and extra headers” in the aggregate packets. ’910 Patent,
 16   col. 2, lines 1-3. This improved “aggregate packet,” created by the claimed “packet
 17   aggregation module,” is illustrated schematically and textually. Figure 3, shows
 18   individual PDUs as they would be carried in separate packets, each with their
 19   individual preambles, headers, and payloads (see also, id., col. 3, line 42 – col. 4,
 20   line 4). In contrast, the claimed invention is represented by Figure 4, depicting the
 21   claimed “aggregate packet,” with a single preamble, MAC Header, Aggregation
 22   Header (green) and a consolidated payload (purple) (see also id., col. 4, line 6 – col.
 23   5, line 36):
 24

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 18   ’910 Patent, Figure 3 (relevant part, compressed for size) and Figure 4 (both

 19   annotated).

 20         Entropic also notes that the motion must be automatically denied because
 21   DISH failed entirely to address claims 1 and 2 of the ’910 Patent. While DISH asserts
 22   that claim 3 is representative of all three claims of the Patent, a side-by-side
 23   comparison of the three claims of the ’910 Patent shows that this is not the case:
 24

 25      ’910 Patent Claim 1           ’910 Patent Claim 2          ’910 Patent Claim 3

 26    A method of transmitting A non-transitory computer A               system           for

 27    digital data over a network readable     media     having transmitting digital data

 28    comprising:                 instructions stored thereon

                                               21
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  1
       receiving a plurality of that, when executed by a over                                a         network
  2
       packet data units;             processor,          causes          the comprising:
  3
                                      processor to transmit digital
  4    identifying at least two of                                              a transceiver adapted to
                                      data over a network, the
  5    the plurality of packet data                                             receive a plurality of
                                      processor comprising:
  6    units that have a same                                                   packet data units; and
  7    aggregation identifier;        receiving      a        plurality    of
  8                                   packet data units;                        a packet aggregation
  9    forming     an    aggregate                                              module for identifying
 10    packet from the at least identifying at least two of the at least two of the
 11    two of the plurality of plurality of packet data units plurality of packet data
 12    packet data units; and         that have a same aggregation units that have a same
 13                                   identifier;                               destination node and
 14    transmitting the aggregate                                               for      forming            an
 15    packet to at least one forming an aggregate packet aggregate packet from
 16    destination node;              from the at least two of the the at least two of the
 17                                   plurality of packet data plurality of packet data
 18    wherein     the   aggregate units;                                       units;
 19    packet      comprises     an
 20    aggregation header that transmitting the aggregate wherein the transceiver
 21    comprises                      packet    to       at     least     one is adapted to transmit
 22                                   destination node                          the aggregate packet to
 23    a number of packet data                                                  at least one destination
 24    units in the aggregate wherein                the         aggregate node; and
 25    packet,                        packet         comprises             an
 26                                   aggregation         header          that wherein           the    packet
 27    further comprising:            comprises       a       number       of aggregation               module
 28                                                                             identifies        the    same
                                                22
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  1
       determining the presence packet data units in the destination                       node    by
  2
       of a checksum bit in a aggregate packet;                              identifying   a    same
  3
       media     access       control                                        aggregation identifier..
  4                                     receiving   the         aggregate
       header;
  5                                     packet,     wherein           the
  6    calculating        a      first aggregate packet comprises
  7    checksum         for      the a      media   access        control
  8    aggregation header;              header;
  9

 10    comparing        the      first determining the presence of
 11    checksum to a second a checksum bit in the media
 12    checksum that is received access control header;
 13    in the aggregation header
 14    of the aggregate packet;         calculating a first checksum
 15                                     for the aggregation header;
 16    receiving the aggregate
 17    packet,       wherein     the comparing            the        first
 18    aggregate               packet checksum       to     a     second
 19    comprises       the     media checksum that is received in
 20    access control header;           the aggregation header of the
 21                                     aggregate packet;
 22    determining the presence
 23    of an original frame check receiving         the         aggregate
 24    sequence bit in the media packet,            wherein           the
 25    access control header; and aggregate packet comprises
 26                                     a   media   access        control
 27    passing the at least two of header;
 28    the plurality of packet data
                                                23
             PLF’S OPP. TO DEF’S RULE 12(B)(6) MOTION TO DISMISS UNDER 35 U.S.C. § 101
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  1
       units to a device without determining the presence of
  2
       modifying frame check an original frame check
  3
       sequences if the second sequence bit in the media
  4
       checksum is found to be access control header; and
  5
       correct.
  6                                  passing the at least two of
  7                                  the plurality of packet data
  8                                  units to a device without
  9                                  modifying     frame     check
 10                                  sequences if the second
 11                                  checksum is found to be
 12                                  correct.
 13
      DISH’s failure to address claims 1 and 2 of the ’910 Patent, which contain a variety
 14
      of different recited elements, is fatal to, at least, any challenge to these claims.
 15
             In summary, the specific data structural requirements of all three claims of the
 16
      ’910 Patent are more than sufficient to meet the “unconventional” prong of Alice,
 17
      again most easily visualized by reference to Figure 4’s “aggregate packet” and its
 18
      contrast of non-aggregated packets in Figure 3. The motion should be denied as to
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      all three claims of that patent for the reasons stated above.
 20
      III.   CONCLUSION
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             For the foregoing reasons, the instant motion should be denied in its entirety.
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             PLF’S OPP. TO DEF’S RULE 12(B)(6) MOTION TO DISMISS UNDER 35 U.S.C. § 101
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  1   Dated: May 23, 2023                        K&L GATES LLP
  2

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                                  #:988


  1                         CERTIFICATE OF COMPLIANCE
  2          The undersigned, counsel of record for Plaintiff, Entropic Communications,
      LLC, certifies that this brief contains 6,554 words, which complies with the word
  3   limit of L.R. 11-6.1.
  4                                         /s/ Christina Goodrich
                                               Christina Goodrich
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            PLF’S OPP. TO DEF’S RULE 12(B)(6) MOTION TO DISMISS UNDER 35 U.S.C. § 101
